Case 18-17157-JNP               Doc 7       Filed 05/04/18          Entered 05/04/18 10:54:27                Desc Main
                                   UNITED STATES BANKRUPTCY
                                        Document               COURT
                                                     Page 1 of 2
                                        DISTRICT OF NEW JERSEY


In Re:                                                             Case No.:          _____________________
                                                                                          18-17157-JNP
Sandra M .DeVincent                                                Chapter:           _____________________
                                                                                                7
                                                                   Judge:             _____________________
                                                                                      Jerrold N. Poslusny, Jr.


                                  NOTICE OF PROPOSED PRIVATE SALE
 
_____________________________,
       Sandra M. Devincent             ______________________,
                                                 debtor            in this case proposes to sell property of
the estate to the persons and on the terms described below. If you object to the sale, you must file a
written objection with the Clerk of the United States Bankruptcy Court and serve it on the party listed
below not later than 7 days before the hearing date.

    Address of the Clerk: U.S. Post Office and Courthouse
                           401 Market Street
                           Camden, NJ 08101



If an objection is filed, a hearing will be held before the Honorable ______________________________
                                                                                     Jerrold N. Poslusny, Jr.
on ____________________________ at ________a.m. at the United States Bankruptcy Court, courtroom
no. _______,
        4C         ___________________________________________.
                                         Camden, NJ                              (Hearing date must be at least 28 days from
the date of this notice). If no objection to the sale is filed, the clerk will enter a Certification of No Objection
and the sale will be held as proposed.  
    Description of property to be sold: 16 Palmetto Avenue, Marlton, NJ 08054
 
 
    Proposed Purchaser: Chevon Matthews and Michael Matthews




    Sale price: $279,000.00



☐ Pursuant to D.N.J. LBR 6004-5, I request to pay the real estate broker and/or real estate attorney at
closing on the terms set forth below.

    Name of Professional: Weichert Realtors
    Amount to be paid:      6% of Sale Price
    Services rendered:      Listing and Selling Broker
Case 18-17157-JNP           Doc 7     Filed 05/04/18 Entered 05/04/18 10:54:27                 Desc Main
                                      Document      Page 2 of 2


Higher and better offers will be received. They must be in writing and filed with the clerk not later than
7 days before the hearing date set forth above.

Objections must be served on, and requests for additional information directed to:

Name:           ________________________________________________________________________
                Travis J. Richards, Esq.
Address:        ________________________________________________________________________
                141 High Street, Mount Holly, NJ 08060
Telephone No.: ________________________________________________________________________
               (609)267-1301




                                                                                                    rev.8/1/15


                                                     2
 
